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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

IN RE:                            §
                                  §
REAGOR-DYKES MOTORS, LP et al     §                 Case No. 18-50214-rlj-11
                                  §                 Jointly Administered
Debtors                           §
                                  §
REAGOR AUTO MALL LTD.;            §
REAGOR-DYKES AMARILLO, LP;        §
REAGOR-DYKES FLOYDADA, LP;        §
REAGOR-DYKES IMPORTS, LP;         §
REAGOR-DYKES AUTO COMPANY, LP §
REAGOR-DYKES PLAINVIEW, LP;       §
REAGOR-DYKES MOTORS, LP; and      §
REAGOR-DYKES SNYDER, LP,          §
       Plaintiffs                 §
                                  §
V.                                §                 Adversary No. 20-05002-rlj
                                  §
FIRSTCAPITAL BANK OF TEXAS, N.A., §
       Defendant.                 §


   STIPULATION EXTENDING DATE BY WHICH FIRSTCAPITAL BANK MUST
            RESPOND TO PLAINTIFFS’ ORIGINAL COMPLAINT
         Plaintiffs and Defendant, by and through their respective counsel, hereby give notice of

their agreement to extend the date by which Defendant must respond to Plaintiff’s Original

Complaint (Doc. 1) to and including March 23, 2020.

                                             AGREED:

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Stipulation Extending Date by Which FirstCapital Bank Must Respond to Plaintiffs’ Original Complaint   Page 2 of 2
